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                     UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

DALE MADDOCKS                           )
                       Plaintiff        )
        v.                              )
                                        )
PORTLAND POLICE DEPARTMENT              )
                                   &    )
                                        )
PORTLAND POLICE DEPARTMENT              )
CHIEF Michael Sauschuck                 )
                                   &    )           5:15-CV-
                                        )
PORTLAND POLICE DEPARTMENT              )
OFFICER Jessica Brown                   )
                                   &    )
                                        )
PORTLAND POLICE DEPARTMENT              )
SERGEANT Frank Heath Gorham             )
                                   &    )
                                        )
PORTLAND POLICE DEPARTMENT              )
OFFICER Henry Johnson                   )
                                   &    )
                                        )
COUNTY OF CUMBERLAND                    )
                                   &    )
                                        )
CUMBERLAND COUNTY SHERIFF               )
Kevin Joyce                             )
                                   &    )
                                        )
Unknown Cumberland County               )
Sheriff’s Deputy                        )
                                   &    )
                                        )
Unknown Cumberland County Jail          )
Correctional Officers                   )
                                        )
                       Defendants       )

                                COMPLAINT
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     NOW COMES the Plaintiff by and through his attorney Chris
A. Nielsen and complains against the Defendants and shows to
this Court and respectfully alleges as follows:

                               THE PARTIES

1.   Plaintiff, Dale Maddocks is a natural person who is a
     resident of the State of Maine.

2.   Defendant Chief Michael Sauschuck is and was at all times
     relevant to this matter employed by the City of Portland as
     its Police Chief.

3.   Defendant Officer Jessica Brown is and was at all times
     relevant to this matter employed by the City of Portland
     through the Portland Police Department (hereinafter “PPD”)
     located in Portland, County of Cumberland, State of Maine.

4.   Defendant PPD Sergeant Frank Heath Gorham is and was at all
     times relevant to this matter employed by the City of
     Portland through PPD located in Portland, County of
     Cumberland, State of Maine.

5.   Defendant Officer Henry Johnson is and was at all times
     relevant to this matter employed by the City of Portland
     through PPD located in Portland, County of Cumberland,
     State of Maine.

6.   Defendant Kevin Joyce (Sheriff Joyce) is and was at all
     times relevant to this matter employed by the County of
     Cumberland as Sheriff, with offices in Portland, County of
     Cumberland and State of Maine.

7.   Defendant unknown Sheriff’s Deputy, was at all times
     relevant to this matter employed by the County of
     Cumberland through the Sheriff’s office as a Sheriff’s
     Deputies, located in Portland, County of Cumberland and
     State of Maine.

8.   Defendants Unknown Cumberland County Jail Correctional
     Officers unknown, were at all times relevant to this matter
     employed by the County of Cumberland through the Sheriff’s
     office as a Corrections Officer at the Cumberland County
     Jail (hereinafter CCJ) located in Portland, County of
     Cumberland and State of Maine.
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                                 FACTS

9.    On May 8, 2013 Officers Gorham, Brown and Johnson responded
      to a disturbance involving Plaintiff’s girlfriend Bonnie
      McGregor (Bonnie) of Brighten Ave at Riverside Street in
      Portland.

10.   Upon arrival the PPD officers first spoke with Bonnie.
      Soon thereafter Plaintiff arrived on scene and spoke with
      the three PPD officers.

11.   Upon speaking with Plaintiff Sergeant Gorham saw and
      confirmed Plaintiff to be carrying a handgun.

12.   Sergeant Gorham noticed the handgun less than one minute
      into his interaction with Plaintiff.

13.   The PPD officers stated that said handgun was “partially
      concealed” to which Plaintiff informed Sergeant Gorham that
      he was openly carrying a Colt Commander 1911 style handgun.

14.   As a result of seeing Plaintiff carrying a handgun,
      Sergeant Gorham detained Plaintiff and Officer Johnson
      arrested Plaintiff, notwithstanding Plaintiff’
      protestations that he was openly carrying as is his right
      under the Maine law, and transported him to Cumberland
      County Jail.

15.   Plaintiff was booked at the County jail and placed in a
      cell.

16.   Shortly thereafter an unknown Sheriff’s deputy and several
      unknown CCJ corrections officers entered the cell and
      requested Plaintiff’s clothing.

17.   Plaintiff verbally declined to surrender his clothes.

18.   As a result of this comment the county employee Defendants
      took Plaintiff from his cell, dragged him into a “drunk
      tank” and through an excessive use of force, assaulted
      Plaintiff.

19.   Plaintiff, who has two aneurisms on his aorta, did not
      resist, as he placed his hands on his chest and simply
      suffered through the assault.
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20.   Subsequent to the excessive use of force, Plaintiff was
      left in the “drunk tank” in his underwear all night with
      the air conditioner running.

21.   Periodically through the night one of the Correctional
      Officers involved in beating Plaintiff would return to ask
      Plaintiff “how are you doing retard?”

22.   Plaintiff informed the Corrections Officers of the severe
      pain he experienced, however CCJ took no action.

23.   Plaintiff’s girlfriend Bonnie was placed in the cell next
      to Plaintiff’s and was subjected to listening Plaintiff get
      assaulted. She confirms hearing Plaintiff’s assault and
      that she did not hear anything that would indicate
      Plaintiff physically resisted.

24.   Immediately upon being released from custody Plaintiff
      visited the Veterans Hospital where he was diagnosed with a
      concussion and a separated rib caused from the assault.

25.   Subsequently, a formal criminal charge of carrying a
      concealed weapon was brought against Plaintiff.

26.   The criminal case progressed to a jury trial on October 16,
      2013.

27.   After the close of the State’s case Plaintiff’s counsel
      moved for a Directed Verdict asserting that as matter of
      law Plaintiff was not carrying a concealed weapon.

28.   Judge Richard Mulhern ruled in favor of Plaintiff and
      dismissed the criminal case as was not carrying a concealed
      weapon as a matter of law.

29.   As of this date, Plaintiff continues to experience severe
      pain, discomfort and a lack of mobility from the injuries,
      along with the effects of the concussion and as a result,
      will require treatment for the foreseeable future.

30.   Due to the grievous injury suffered at the hands of
      Cumberland County Sheriff’s deputy and CCJ Corrections
      Officers and the resulting pain, Plaintiff experienced a
      significant worsening of his condition.
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31.   Plaintiff continues to suffer from the negative effects of
      the injuries and as a result, will require treatment for
      the foreseeable future.

                              COUNT I
                        FALSE IMPRISONMENT
        Portland Police Officers Brown, Gorham and Johnson

32.   Plaintiff repeats and re-alleges paragraphs 1-31 above as
      paragraphs 1-31 of count I as if fully set forth herein.

33.   Defendants Officers Brown, Gorham and Johnson, are and at
      all times mentioned in this Complaint, were, employed by
      the PPD.

34.   As stated in paragraphs 11 through 15, on or about May 8,
      2013, Defendants, Portland PD officers Brown, Gorham and
      Johnson unlawfully arrested Plaintiff without warrant or
      any other legal process and took Plaintiff into custody
      against the will of the Plaintiff, and without probable
      cause.

35.   After arresting Plaintiff, Defendant Portland Police
      Officer Henry Johnson brought Plaintiff to Cumberland
      County Jail at: 50 County Way, Portland ME, where Plaintiff
      was restrained and detained on May 8, 2013, and was
      released on May 9, 2013, a period approximately of 24 hours
      during which while in CCJ custody as a result of the
      Defendant PPD officers false arrest, Plaintiff suffered an
      assault.

36.   During the time that Plaintiff was detained, neither
      Defendant police officers Brown, Johnson, and Gorham, nor
      any other member of Defendant city’s police department made
      any attempt to conduct an investigation so as to determine
      if in fact there was probable cause to arrest and detain
      Plaintiff, nor was Plaintiff taken to any judicial office
      or magistrate.

37.   Plaintiff did not commit an offense and Defendant did not
      have any reasonable or probable cause for believing that
      Plaintiff committed any offense.

38.   As a proximate and direct cause of the forgoing acts,
      Plaintiff was deprived of his liberty in wrongly detained
      at CCJ.
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39.   Also as a proximate and direct cause of the forgoing acts,
      Plaintiff was subjected to an excessive use of force
      resulting in severe and painful injury after his false
      arrest, further resulting in ongoing physical anguish due
      to being unjustly incarcerated at Cumberland County Jail.

40.   Plaintiff seeks compensatory damages of the illegal
      deprivation of his liberty. In addition, the acts of
      Defendant Police officers Brown, Johnson, Gorham were done
      maliciously, wantonly, and intentionally, and entitle the
      Plaintiff to exemplary or punitive damages.

                            COUNT II
                        ASSAULT & BATTERY
   Portland Police Officers Brown, Gorham and Johnson, unknown
     sheriff’s deputy and unknown CCJ Correctional Officer’s

41.   Plaintiff repeats and re-alleges paragraphs 1-40 above as
      paragraphs 1-40 of count II as if fully set forth herein.

42.   Defendants PPD officers Brown, Gorham and Johnson along
      with Defendants unknown sheriff’s deputy and unknown CCJ
      Correctional Officer’s actions as stated in paragraphs 9
      through 31 resulted in an excessive use of force on
      Plaintiff which constituted an Assault & Battery from which
      he suffered grievous and long lasting physical injuries, as
      stated previously.

43.   Plaintiff seeks damages for physical suffering caused by
      the Defendants’ acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                            COUNT III
                        5 M.R.S.A. § 4682
        Portland Police Officers Brown, Gorham and Johnson

44.   Plaintiff repeats and re-alleges paragraphs 1-43 above as
      paragraphs 1-43 of Count IV as if fully set forth herein.

45.   Defendant Police Officers, at all times relevant to this
      matter acted under color of the laws of the State of Maine.
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46.   Defendant PPD Officers actions as stated in paragraphs 9
      through 31 constituted a false arrest and a subsequent
      excessive use of force in violation of clearly established
      rights guaranteed to Plaintiff by Article 1, Section 5 of
      the Maine Constitution and by the Fourth Amendment to the
      United States Constitution.

47.   As a direct result of Defendant Police Officer’s false
      arrest in violation of Plaintiff Constitutional rights, as
      aforesaid, Plaintiff has suffered grievous and long lasting
      physical injuries.

48.   Plaintiff seeks damages for physical suffering caused by
      the Defendants’ acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                              COUNT IV
                         5 M.R.S.A. § 4682
              Portland Police Chief Michael Sauschuck

49.   Plaintiff repeats and re-alleges paragraphs 1-48 above as
      paragraphs 1-48 of Count IV as if fully set forth herein.

50.   Defendant Chief Michael Sauschuck, at all times relevant to
      this matter acted under color of the laws of the State of
      Maine.

51.   Defendant Chief Michael Sauschuck is the employer of
      Defendant PPD Officers and sets the policies and procedures
      for the training of PPD Officers.

52.   Defendant PPD Officers’ were inadequately trained,
      supervised and /or disciplined in making probable cause
      arrests with respect to an individual’s state law right of
      open carry.

53.   Defendant PPD Officer’s inadequate training, supervision
      and /or discipline in making arrests supported by probable
      cause with respect to an individual’s state law right of
      open carry, constituted a false arrest and subsequent
      excessive use of force directly resulted in the violation
      of clearly established rights guaranteed to Plaintiff by
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      Article 1, Section 5 of the Maine Constitution and by the
      Fourth Amendment to the United States Constitution.

54.   As a direct result of the violation of Plaintiff’s
      Constitutional rights, as aforesaid, Plaintiff has suffered
      grievous and long lasting physical injuries as stated
      previously.

55.   Plaintiff seeks damages for physical suffering caused by
      the Defendant’s acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                               COUNT V
                          5 M.R.S.A. § 4682
                      Portland Police Department

56.   Plaintiff repeats and re-alleges paragraphs 1-55 above as
      paragraphs 1-55 of Count V as if fully set forth herein.

57.   Defendant   Chief Michael Sauschuck, is the final policy
      maker for   PPD in the substantive area of making arrests
      supported   by probable cause with respect to an individual’s
      state law   right of open carry.

58.   Defendant PPD Officers Brown, Gorham and Johnson actions
      pursuant to the policies, customs and/or procedures of PPD,
      i.e., the arrest of individual’s openly carrying, directly
      resulted in the violation of clearly established rights
      guaranteed to Plaintiff by Article 1, Section 5 of the
      Maine Constitution and by the Fourth Amendment to the
      United States Constitution.

59.   As a direct result of the violation of Plaintiff’s
      Constitutional rights, as aforesaid, Plaintiff has suffered
      grievous and long lasting physical injuries as stated
      previously.

60.   Plaintiff seeks damages for physical suffering caused by
      the Defendant’s acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.
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                            COUNT VI
                       5 M.R.S.A. § 4682
  Unknown Cumberland County Sheriff’s Deputy and three Unknown
          Cumberland County Jail Corrections Officers

61.   Plaintiff repeats and re-alleges paragraphs 1-60 above as
      paragraphs 1-60 of Count VI as if fully set forth herein.

62.   Defendant Unknown Sheriff’s Deputy and Unknown CCJ
      Correctional Officers, at all times relevant to this matter
      acted under color of the laws of the State of Maine.

63.   Defendant Unknown Sheriff’s Deputy and Unknown CCJ
      Correctional Officers actions as stated in paragraphs 15
      through 23 was an excessive use of force in violation of
      clearly established rights guaranteed to Plaintiff by
      Article 1, Section 5 of the Maine Constitution and by the
      Fourth Amendment to the United States Constitution.

64.   As a direct result of Defendant Unknown Sheriff’s Deputy
      and Unknown CCJ Correctional Officers excessive use of
      force in violation of Plaintiff Constitutional rights, as
      aforesaid, Plaintiff has suffered grievous and long lasting
      physical injuries, as stated previously.

65.   Plaintiff seeks damages for physical suffering caused by
      the Defendants’ acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                              COUNT VII
                          5 M.R.S.A. § 4682
                Cumberland County Sheriff Kevin Joyce

66.   Plaintiff repeats and re-alleges paragraphs 1-65 above as
      paragraphs 1-65 of Count VII as if fully set forth herein.

67.   Defendant Sheriff Joyce is the employer of Defendant
      Unknown Sheriff’s Deputy and Unknown CCJ Correctional
      Officers and sets the policies and procedures for the
      training of Cumberland County sheriff’s deputies and
      correctional officers.
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68.   Defendant Unknown Sheriff’s Deputy and Unknown CCJ
      Correctional Officers were inadequately trained, supervised
      and /or disciplined in the use of force when handling
      inmates at Cumberland County Jail.

69.   Defendant Unknown Sheriff’s Deputy and Unknown CCJ
      Correctional Officers inadequate training, supervision and
      /or discipline in the use of force when handling inmates
      directly resulted in the violation of clearly established
      rights guaranteed to Plaintiff by Article 1, Section 5 of
      the Maine Constitution and by the Fourth Amendment to the
      United States Constitution.

70.   As a direct result of the violation of Plaintiff’s
      Constitutional rights, as aforesaid, Plaintiff has suffered
      grievous and long lasting physical injuries, as stated
      previously.

71.   Plaintiff seeks damages for physical suffering caused by
      the Defendant’s acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                               COUNT VIII
                           5 M.R.S.A. § 4682
                          County of Cumberland

72.   Plaintiff repeats and re-alleges paragraphs 1-71 above as
      paragraphs 1-71 of Count VIII as if fully set forth herein.

73.   Sheriff Joyce is the final policy maker for Cumberland
      County in the substantive area of its correctional policies
      and procedures, including the use of force on inmates.

74.   Defendant Correctional Officers actions pursuant to the
      policies, customs and/or procedures of Cumberland County,
      i.e., the use of force on inmates, directly resulted in the
      violation of clearly established rights guaranteed to
      Plaintiff by Article 1, Section 5 of the Maine Constitution
      and by the Fourth Amendment to the United States
      Constitution.

75.   As a direct result of the violation of Plaintiff’s
      Constitutional rights, as aforesaid, Plaintiff has suffered
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      grievous and long lasting physical injuries, as stated
      previously.

76.   Plaintiff seeks damages for physical suffering caused by
      the Defendant’s acts, for Plaintiff Trotsky’s legal and
      medical expenses and costs, for any expenses incurred by
      Plaintiff, for any continuing and ongoing expenses of any
      kind and nature, for any lost wages and for any future pain
      and suffering which may result to Plaintiff.

                              COUNT IX
                         42 U.S.C. § 1983
              Portland Police Chief Michael Sauschuck

77.   Plaintiff repeats and re-alleges paragraphs 1-76 above as
      paragraphs 1-76 of Count IX as if fully set forth herein.

78.   Defendant Portland Police Chief Michael Sauschuck is the
      employer of Defendant Portland Police Officers and sets the
      policies and procedures for the training of Portland Police
      Officers.

79.   Defendant PPD Officers’ were inadequately trained,
      supervised and /or disciplined in making probable cause
      arrests with respect to an individual’s state law right of
      open carry.

80.   Defendant PPD Officer’s inadequate training, supervision
      and /or discipline in making arrests supported by probable
      cause with respect to an individual’s state constitutional
      right of open carry, constituted a false arrest and
      subsequent excessive use of force directly resulted in the
      violation of clearly established rights guaranteed to
      Plaintiff by Article 1, Section 5 of the Maine Constitution
      and by the Fourth Amendment to the United States
      Constitution.

81.   As a direct result of the violation of Plaintiff’s
      Constitutional rights, as aforesaid, Plaintiff has suffered
      grievous and long lasting physical injuries as stated
      previously.

82.   Plaintiff seeks damages for physical suffering caused by
      the Defendant’s acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
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      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                               COUNT X
                           42 U.S.C. § 1983
                      Portland Police Department

83.   Plaintiff repeats and re-alleges paragraphs 1-82 above as
      paragraphs 1-82 of Count X as if fully set forth herein.

84.   Defendant   Chief Michael Sauschuck, is the final policy
      maker for   PPD in the substantive area of making arrests
      supported   by probable cause with respect to an individual’s
      state law   right of open carry.

85.   Defendant PPD Officers Brown, Gorham and Johnson actions
      pursuant to the policies, customs and/or procedures of PPD,
      i.e., the arrest of individual’s openly carrying, directly
      resulted in the violation of clearly established rights
      guaranteed to Plaintiff by Article 1, Section 5 of the
      Maine Constitution and by the Fourth Amendment to the
      United States Constitution.

86.   As a direct result of the violation of Plaintiff’s
      Constitutional rights, as aforesaid, Plaintiff has suffered
      grievous and long lasting physical injuries as stated
      previously.

87.   Plaintiff seeks damages physical suffering caused by the
      Defendant’s acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                             COUNT XI
                         42 U.S.C. § 1983
        Portland Police Officers Brown, Gorham and Johnson

88.   Plaintiff repeats and re-alleges paragraphs 1-87 above as
      paragraphs 1-87 of Count XI as if fully set forth herein.

89.   Defendant Police Officers, at all times relevant to this
      matter acted under color of the laws of the State of Maine.
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90.   Defendant PPD Officers actions as stated in paragraphs 9
      through 31 constituted a false arrest and a subsequent
      excessive use of force in violation of clearly established
      rights guaranteed to Plaintiff by Article 1, Section 5 of
      the Maine Constitution and by the Fourth Amendment to the
      United States Constitution.

91.   As a direct result of Defendant Police Officer’s false
      arrest in violation of Plaintiff Constitutional rights, as
      aforesaid, Plaintiff has suffered grievous and long lasting
      physical injuries as stated previously.

92.   Plaintiff seeks damages for physical suffering caused by
      the Defendants’ acts, for Plaintiff’s legal and medical
      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                           COUNT XII
                        42 U.S.C. § 1983
  Unknown Cumberland County Sheriff’s Deputy and three Unknown
          Cumberland County Jail Corrections Officers

93.   Plaintiff repeats and re-alleges paragraphs 1-92 above as
      paragraphs 1-92 of Count XII as if fully set forth herein.

94.   Defendant Unknown Sheriff’s Deputy and Unknown CCJ
      Correctional Officers, at all times relevant to this matter
      acted under color of the laws of the State of Maine.

95.   Defendant Unknown Sheriff’s Deputy and Unknown CCJ
      Correctional Officers actions as stated in paragraphs 15
      through 23 was an excessive use of force in violation of
      clearly established rights guaranteed to Plaintiff by
      Article 1, Section 5 of the Maine Constitution and by the
      Fourth Amendment to the United States Constitution.

96.   As a direct result of Defendant Unknown Sheriff’s Deputy
      and Unknown CCJ Correctional Officers excessive use of
      force in violation of Plaintiff Constitutional rights, as
      aforesaid, Plaintiff has suffered grievous and long lasting
      physical injuries, as stated previously.

97.   Plaintiff seeks damages for physical suffering caused by
      the Defendants’ acts, for Plaintiff’s legal and medical
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      expenses and costs, for any expenses incurred by Plaintiff,
      for any continuing and ongoing expenses of any kind and
      nature, for any lost wages and for any future pain and
      suffering which may result to Plaintiff.

                              COUNT XIII
                           42 U.S.C. § 1983
                          Sheriff Kevin Joyce

98.   Plaintiff repeats and re-alleges paragraphs 1-98 above as
      paragraphs 1-98 of Count XII as if fully set forth herein.

99.   Defendant Sheriff Joyce is the employer of Defendant
      Unknown Sheriff’s Deputy and Unknown CCJ Correctional
      Officers and sets the policies and procedures for the
      training of Cumberland County sheriff’s deputies and
      correctional officers.

100. Defendant Unknown Sheriff’s Deputy and Unknown CCJ
     Correctional Officers were inadequately trained, supervised
     and /or disciplined in the use of force when handling
     inmates at Cumberland County Jail.

101. Defendant Unknown Sheriff’s Deputy and Unknown CCJ
     Correctional Officers inadequate training, supervision and
     /or discipline in the use of force when handling inmates
     directly resulted in the violation of clearly established
     rights guaranteed to Plaintiff by Article 1, Section 5 of
     the Maine Constitution and by the Fourth Amendment to the
     United States Constitution.

102. As a direct result of the violation of Plaintiff’s
     Constitutional rights, as aforesaid, Plaintiff has suffered
     grievous and long lasting physical injuries, as stated
     previously.

103. Plaintiff seeks damages for physical suffering caused by
     the Defendant’s acts, for Plaintiff’s legal and medical
     expenses and costs, for any expenses incurred by Plaintiff,
     for any continuing and ongoing expenses of any kind and
     nature, for any lost wages and for any future pain and
     suffering which may result to Plaintiff.

                                COUNT XIV
                            42 U.S.C. § 1983
                          County of Cumberland
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104. Plaintiff repeats and re-alleges paragraphs 1-103 above as
     paragraphs 1-103 of Count XIV as if fully set forth herein.

105. Sheriff Joyce is the final policy maker for Cumberland
     County in the substantive area of its Sheriff Deputies and
     correctional policies and procedures, including the use of
     force on inmates.

106. Defendant Unknown Sheriff’s Deputy and Unknown CCJ
     Correctional Officer’s actions pursuant to the policies,
     customs and/or procedures of Cumberland County, i.e., the
     use of force on inmates, directly resulted in the violation
     of clearly established rights guaranteed to Plaintiff by
     the Fourth Amendment to the United States Constitution.

107. As a direct result of the violation of Plaintiff’s
     Constitutional rights, as aforesaid, Plaintiff has suffered
     grievous and long lasting physical injuries, as stated
     previously.

108. Plaintiff seeks damages for physical suffering caused by
     the Defendant’s acts, for Plaintiff’s legal and medical
     expenses and costs, for any expenses incurred by Plaintiff,
     for any continuing and ongoing expenses of any kind and
     nature, for any lost wages and for any future pain and
     suffering which may result to Plaintiff.

                             Count XV
                         Punitive Damages

109. Plaintiff repeats and re-alleges paragraphs 1-109 above as
     paragraphs 1-109 of Count XV as if fully set forth herein.

110. Defendants Portland Police Department, Portland Police
     Chief Sauschuck, Portland PD officers Johnson, Gorham, and
     Brown, Cumberland County, Cumberland County Sheriff Joyce,
     unknown Sheriff’s Deputy and unknown Correctional Officers
     acted with malicious, reckless or callous disregard for
     Plaintiff's rights at all times during this matter.

111. As a direct result of the violation of Plaintiff’s rights,
     as aforesaid, Plaintiff has suffered grievous and long
     lasting physical injuries, as stated previously

112. Plaintiff is entitled to punitive damages on all counts.
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                         DEMAND FOR JURY TRIAL

113. Plaintiff Demands a Jury Trial an all counts of his
     complaint.

WHEREFORE, Plaintiff demands a Trial by Jury and requests relief
against the Defendants as follows:

1.   That a judgment be entered in favor of Plaintiff against
     Portland Police Sergeant Gorham, Portland Police officers
     Brown and Johnson for the relief sought in Count I.

2.   That a judgment be entered in favor of Plaintiff and
     against Portland Police Officers Brown, Gorham and Johnson,
     unknown sheriff’s deputy and unknown CCJ Correctional
     Officer’s for the relief sought in Counts II.

3.   That a judgment be entered in favor of Plaintiff and
     against Portland Police Sergeant Gorham, Portland Police
     officers Brown and Johnson for the relief sought in count
     III.

4.   That a judgment be entered in favor of Plaintiff and
     against Portland Police Chief Michael Sauschuck for the
     relief sought in Count IV.

5.   That a judgment be entered in favor of Plaintiff and
     against Portland Police Department for the relief sought in
     Count V.

6.   That a judgment be entered in favor of Plaintiff and
     against unknown Sheriff’s Deputy and the unknown CCJ
     Correctional Officers for the relief sought in Count VI.

7.   That a judgment be entered in favor of Plaintiff and
     against Cumberland County Sheriff Joyce for the relief
     sought in Count VII.

8.   That a judgment be entered in favor of Plaintiff and
     against Cumberland County the relief sought in Count VIII.

9.   That a judgment be entered in favor of Plaintiff and
     against Portland Police Chief Michael Sauschuck for the
     relief sought in Count IX.
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10.   That a judgment be entered in favor of Plaintiff against
      Portland Police Department for the relief sought in Count
      X.

11.   That a judgment be entered in favor of Plaintiff and
      against Portland Police Sergeant Gorham, Portland Police
      officers Brown and Johnson for the relief sought in count
      XI.

12.   That a judgment be entered in favor of Plaintiff and
      against unknown Sheriff’s Deputy and the unknown CCJ
      Correctional Officers for the relief sought in Count XII.

13.   That a judgment be entered in favor of Plaintiff and
      against Cumberland County Sheriff Joyce for the relief
      sought in Count XIII.

14.   That a judgment be entered in favor of Plaintiff and
      against Cumberland County for the relief sought in Count
      XIV.

15.   That a judgment be entered in favor of Plaintiff and
      against all Defendants for the relief sought in Count XV

16.   For an award of attorney fees for the relief sought in the
      all counts of the complaint.

17.   For an award of prejudgment interest for the earliest
      possible date.

18.   Any such other and further relief as the Court considers
      just and proper.

Dated at Biddeford, Maine this 5th day of May, 2015.


_/S/_Chris A. Nielsen, Esq.__
Chris A. Nielsen, Esq.
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